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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

ROBERT HUNTER BIDEN,                      )
                                          )
      Plaintiff,                          )
                                          )
      v.                                  )
                                          )                    Case No. 1:23-CV-02711
UNITED STATES INTERNAL REVENUE            )
SERVICE,                                  )
                                          )
      Defendant.                          )
__________________________________________)


                                  JOINT NOTICE OF APPEAL


        Proposed Intervenors IRS Supervisory Special Agent Gary Shapley and IRS Special Agent

Jospeh Ziegler (the “Proposed Intervenors”), by and through their respective undersigned counsel,

hereby respectfully provide notice of their appeal to the United States Court of Appeals for the

District of Columbia from the portion of this Court’s Order entered September 27, 2024, (Doc.

38), denying their Joint Motion to Intervene. (Doc. 22).

        With respect to the Order, Proposed Intervenors respectfully provide notice of their intent

to evaluate and pursue all meritorious claims on this appeal of the Order which “prevents a putative

intervenor from becoming a party in any respect . . . [and, therefore] is subject to immediate

review.” J.B. Stringfellow, Jr. v. Concerned Neighbors in Action, 480 U.S. 370, 377 (1987) (citing

Railroad Trainmen v. Baltimore & Ohio R. Co., 331 U.S. 519, 524-25 (1947)) (emphasis in

original).

        In accordance with Federal Rule of Appellate Procedure 4(a)(1)(B)(ii), and because the

United States Internal Revenue Service is a party to this litigation, this Notice is timely.
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Dated: October 25, 2024                         Respectfully submitted,
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                                CERTIFICATE OF SERVICE

       I certify that on October 25, 2024, I filed the foregoing document with the Clerk of Court

using the CM/ECF electronic filing system, which will send notification to all counsel of record.



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